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                                              IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                               )             COURT MINUTES - CRIMINAL
                                                        )              BEFORE: DOUGLAS L. MICKO
                                     Plaintiff,         )                  U.S. Magistrate Judge
                                                        )
   v.                                                   )    Case No:             25-mj-376 JFD
                                                        )    Date:                June 27, 2025
Vance Luther Boelter,                                   )    Court Reporter:      Caitlin Albrecht
                                                        )    Courthouse:          St. Paul
                                     Defendant.         )    Courtroom:           Devitt Courtroom
                                                             Time Commenced:      11:06 a.m.
                                                             Time Concluded:      11:13 a.m.
                                                             Time in Court: 7 minutes



                 X PRELIMINARY/DETENTION HRG
                    Time in Court Prelim/Det: 3 minutes/4 minutes

APPEARANCES:

   Plaintiff: Harry Jacobs, Matthew Forbes and Bradley Endicott, Assistant U.S. Attorney
   Defendant: Manny Atwal
                   X FPD


On            X Complaint

Defense counsel motions for continuance of the preliminary hearing under Rule 5.1(d) and the detention hearing
under 18:3142(f). Motion GRANTED.
The detention and preliminary hearing have been continued to Thursday, July 3, 2025 at 2:30 p.m. before Magistrate
Judge Douglas L. Micko in Edward J. Devitt Courtroom, Warren E. Burger Federal Building and U.S. Courthouse,
Saint Paul, Minnesota.

Additional Information:
-Defendant consents to have the preliminary hearing outside the 14-day continuance.


                                                                                                     s/aln___________
                                                                                        Signature of Courtroom Deputy




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